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                              UNITED STATES DISTRICT COURT
  9
                           SOUTHERN DISTRICT OF CALIFORNIA
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 11
      UNITED STATES OF AMERICA,                )        Criminal Case No. 11-CR-2201-MMA-5
 12                                            )
                          Plaintiff,           )
 13                                            )        ORDER GRANTING
            v.                                 )        UNITED STATES OF AMERICA’S
 14                                            )        MOTION TO DISMISS AND JUDGMENT
      CLAUDIA RANGEL (05),                     )        THEREON
 15                                            )
                                               )        [Doc. No. 97]
 16                       Defendant.           )
                                               )
 17
 18           Upon motion of the UNITED STATES OF AMERICA and good cause appearing,
 19           IT IS HEREBY ORDERED that the Indictment, with respect to Defendant CLAUDIA
 20   RANGEL (05) only, be dismissed without prejudice.
 21           IT IS SO ORDERED.
 22   DATED: May 1, 2012
 23
 24                                                Hon. Michael M. Anello
                                                   United States District Judge
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 28
